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UNITED STATES DISTRICT COURT

 

DISTRICT OF NEW JERSEY
U.S. EQUAL EMPLOYMENT
OPPORTUNITY COMMISSION,
Civil Action No.: 3: 17-cv-03220-MAS-TJB
Plaintiff,
v.

DIVERSE LYNX, LLC

Defendant,

 

 

CONSENT DECREE

This lawsuit was initiated on May 8, 2017, by Plaintiff U.S, Equal Employment
Opportunity Commission (“EEOC”), an agency of the United States Government, alleging that
Defendant Diverse Lynx, LLC (“Defendant” or “Diverse Lynx, LLC”) violated the Age
Discrimination in Employment Act of 1967, as amended, 29 U.S.C. § 621 et seq. (“ADEA”), by
discriminating against Kadambi Vijaisimh on the basis of age. This Decree is not an admission
by cither party of the claims or defenses of the other party.

In consideration of the mutual promises of each party to this Decree, and in settlement of
this lawsuit, the sufficiency of which is hereby acknowledged, it is agreed and IT IS ORDERED,

ADJUDGED, AND DECREED AS FOLLOWS:

GENERAL PROVISIONS
Purpose of this Decree

1, The EEOC and Defendant (the “parties”) desire to settle this action, and therefore
do hereby stipulate and consent to the entry of this Decree as final and binding between the

parties, including Diverse Lynx, LLC’s successors, assigns, subsidiaries, and affiliates.

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2. This Decree resolves the allegations in EEOC Charge of Discrimination number
540-2014-02345 and the Complaint filed in this action. This Decree does not resolve any other
charges of discrimination currently pending before EEOC or any charge that may be filed in the
future against Defendant or Defendant’ Successors, assigns, subsidiaries and, affiliates, and any
other corporation or entity into which Defendant may merge or with which Defendant may
consolidate.

3 The parties agree that this Court has jurisdiction of the subject matter of this
litigation and the parties, that venue is proper, and that all administrative prerequisites have been
met.

4. Diverse Lynx, LLC will not contest the validity of this Decree, the jurisdiction of
the United States District Court for the District of New Jersey to enforce this Decree and its
terms, or the right of the EEOC to pursue an enforcement action upon breach of any of the terms
of this Decree.

5, The terms of this Decree represent the full and complete agreement and settlement
of the parties, The parties agree that this Decree may be entered into without findings of fact
and/or conclusions of law being made and entered by the Court.

6. The Effective Date of this Decree shall be the date that it is entcred,

he Diverse Lynx, LLC agrees that before it engages in any transfer of its business or
its assets, it will provide written notice of this lawsuit and a copy of the Complaint and this
Decree to any potential purchaser of the Company, and to any potential successors, assigns,
subsidiaries, or affiliates, including any entity with which Diverse Lynx, LLC may merge or
consolidate. Diverse Lynx, LLC will provide written notice to the EEOC fifteen (15) days

before any purchase or transfer of its business or assets.

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8, Except as otherwise provided for in this Decree, all notifications, reports, and
communications to the parties required under this Decree will be made in writing and will be
sufficient if delivered via email, hand-delivery, or certified, registered, or overnight mail to the
following persons (or their designated successors):

For EEOC: Rosemary DiSavino
Senior Trial Attorney
Two Gateway Center,
Suite 1703
283-299 Market Street
Newark, N.J. 07102
rosemary. disavinovwecoc. coy

and

decrecmonitor.nydo@eecoc.gov
For Diverse Lynx, LLC: _ Patrick Papalia

Archer & Greiner, P.C.

21 Main Street Hackensack, N.J.
ppapaliat@archerlaw.com

       

and

Shubhendra Varma

Diverse Lynx, LLC

300 Alexander Park, Suite 200
Princeton, New Jersey 08540

varma@diverselynx.com

Any party may change such addresses by written notice to the other Parties setting forth a new
address for this purpose,

a The parties agree that “employees” as used throughout this Decree and in any
documents, conduct, or actions generated in accordance with this Decree includes persons who

perform work which benefits Diverse Lynx, LLC including but not limited to full-time, part-

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time, and per diem employees.
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EQUITABLE RELIEF

10, Diverse Lynx, LLC, its managers, officers, agents, and any other person or entity
anitig on its behalf which Diverse Lynx has the ability to control, are enjoined from:

(A) failing or refusing to recruit, solicit, and/or refer job applicants on the
basis of age;

(B) requesting or otherwise soliciting the year of birth of job applicants before
presenting the applicant for consideration to a prospective employer, and
then, only requesting an applicant's year of birth when a job offer has been
made and accepted. Nothing in this decree prevents Diverse Lynx from
obtaining documents that contain an applicant’s birth year if there is a
lawful business need to do 50;

(C) taking any retaliatory action against any person because the person has
made any formal or informal complaint or charge, about, or has taken any
action to oppose any practice made unlawful by the ADEA, including but
not limited to any person that made, participated, testified, or assisted the
EEOC in any manner, or sought or received relicf in this action, the
administrative proceedings in this action, or in any other proceeding under
the ADEA,

Anti-Discrimination Policy

11, Within thirty (30) days of the entry of this Decree, Diverse Lynx, LLC will adopt
and adhere to an anti-discrimination policy which will contain at least the following elements
and, although the EEOC’s review of the policy does not constitute a representation te the EEOC
that Diverse Lynx, LLC is compliant with federal anti-discrimination laws, Diverse Lynx, LLC

will provide the proposed policy to the EEOC for review before this Decree is finalized:

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a definition describing discrimination in a manner consistent with the
requirements of the ADEA, including but not limited to a specific reference to
non-discrimination in the recruiting, solicitation, referral, and hiring proccss;

a clear, unambiguous prohibition of discrimination because of age, and a
statement that such conduct violates the law and company policy;

a statement that all employees, regardless of level, arc responsible for
implementing the policy and for cooperating fully in its enforcement;

a statement that it is the duty of all supervisors and all management officials who
receive a complaint of discrimination to report the complaint to the appropriate
personnel;

a statement that it is the duty of all supervisors and management officials to
monitor the workplace for discrimination and that if they suspect that such
conduct has taken place, even if the discrimination originates from an outside
vendor or client, it is their duty to report it to the appropriate personnel;

a statement that employees, job applicants, and prospective job applicants will not
be subjected to retaliation for reporting suspected discrimination:

a statement that reports of discrimination and investigations of those reports will
be kept confidential by those charged with recciving and/or investigating such
reports unless disclosure is required for investigation or by law;

a statement that all reports will be investigated promptly and impartially by the
appropriate personnel;

a description of the investigation procedure, including a
timeframe for completion of the investigation;

a statement warning that persons who engage in, ratify, or perpetuate
discrimination will be subject to disciplinary action, up to and including
immediate discharge;

a statement that employees and applicants have a right to report practices that they
believe to be unlawful discrimination to government agencies, including the

EEOC, which is the agency of the United States Government that enforces federal ©
laws prohibiting employment discrimination and investigates reports of such
discrimination;

a statement that the complainant will be informed when the investigation is
complete and any action taken as a result of the investigation.

the Statement of Equal Opportunity described in paragraph 18 of this Deeree.

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12. Within thirty (30) days of the adoption of the anti-discrimination policy, Diverse
Lynx, LLC will display on its website and office notice board and distribute a copy of the policy
to all current managers and employees involved in the recruiting, hiring and placement of
candidates and employees via email, Diverse Lynx, LLC will provide a copy of this policy to be
read and signed by all new managers and employees involved in the recruiting, hiring and
placement of candidates and employees hired thereafter within two (2) weeks of such person’s
first day of work.

13, Within thirty (30) days of the adoption of the anti-discrimination policy, Diverse
Lynx, LLC will include its anti-discrimination policy in its Employee Handbook and will make
the policy available in all places that make other human resources information or policies

available to employees.

Anti-Discrimination Training

14, — Within ninety (90) days of the Effective Date and on an annual basis thereafter on
the anniversary of this Decree while it is in effect, Diverse Lynx, LLC will provide no fewer than
two (2) hours of live training to all Diverse Lynx, LLC employees involved in the recruitment,
solicitation, referral, and/or hiring of employees including but not limited to all officers, account
executives, and recruiters,

15. Diverse Lynx, LLC will require that all new employecs who are hired after the
Most recent training referred to in Paragraph 13 and who are involved in the recruitment,
solicitation, referral, and/or hiring of employees view a video of the most recent full 2 hour live
training referred to in paragraph 13 within 90 days of the start of their employment.

16. All training described in this section will be provided by a trainer or vendor
identified by Diverse Lynx, LLC and approved by the EEOC which approval shall not be

unreasonably withheld, Thirty (30) days prior to commencing the training described in this

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Decree, Diverse Lynx, LLC will give the EEOC the training outline and materials for review and
approval, Diverse Lynx, LLC will implement any recommendations made by the EEOC
regarding the training. Reference to the training in this Decree is not a representation by EEOC
that Diverse Lynx, LLC has been or currently is in compliance with federal anti-discrimination
laws.

17. Diverse Lynx, LLC will notify the EEOC, in writing, at least thirty (30) days prior
to its live training of the date, time, and location of the training. The EEOC may and is entitled
to send one or morc representatives to attend the training.

18. Within thirty (30) days of the training required by this Decree, Diverse Lynx,
LLC will provide an electronic list of the name, job title, date of hire, and work locations of all
cmployees and a separate list of attendees, including the date and inetitin of attendance, to the

EEOC for review.

Statement of Equal Opportunity

19. Within thirty (30) days of the Effective Date of this Decree, the President of
Diverse Lynx, LLC will issue a statement to all Diverse Lynx, LLC employees stating the
company is an Equal Opportunity Employer in all aspects of employment including but not
limited to recruitment, solicitation, referral, and hiring. An EEO statement also will be
prominently displayed on the job posting section of the company’s website, and in all
employment brochures, job fair materials, email correspondence and Diverse Lynx, LLC
locations, except where it is not technologically possible to do so; Diverse Lynx, LLC will
provide the statement to the EEOC for review.

Complaint Procedure, Phone Number and Dedicated E-Mail Address
20. Within thirty (30) days of the Effective Date, Diverse Lynx, LLC will establish a

telephone number (the “Number”) and secure e-mail address where any Diverse Lynx, LLC job

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applicant, employce, or other individual may report complaints of perceived discrimination in
violation of the ADEA. All complaints received through the Number or the e-mail address will
be recorded and investigated by the appropriate personnel outlined in the Anti-Discrimination
Policy. These and all other records created as part of the investigation will be preserved by
Diverse Lynx, LLC for the duration of the Decree. The Number and the e-mail address will be
issued to all Diverse Lynx, LLC employees at the time that the President issues the statement of
equal opportunity as described in paragraph 18, and will be prominently displayed on the job
posting section of the company’s website and at Diverse Lynx, LLC locations in the area where

other employee notices are posted.

Posting and Distribution of Notice

21. Within thirty (30) days of the entry of this Decree, Diverse Lynx, LLC will
conspicuously post and maintain a “Notice of Lawsuit and Resolution” (the “Notice,” attached as
Exhibit A), typed in 14-point font, in all company business locations where employees involved
in the recruiting, hiring and placement of candidates work where employee notices are posted.
MONITORING AND REPORTING

22, EEOC may monitor Diverse Lynx, LLC’s compliance with this Decree through
whatever means deemed necessary by the EEOC including but not limited to the inspection of
Diverse Lynx, LLC’s premises and records, and interviews with Diverse Lynx, LLC’s officers,
agents, employees, contractors, and clients at reasonable times with two days’ advance written
notice. The EEOC may inspect Diverse Lynx LLC’s premises without advance notice for the
sale purpose of monitoring its compliance with the notice posting requirement of paragraph 20.

Diverse Lynx, LLC will provide a response to and Cooperate with the EEOC’s requests for

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information within 10 business days of the request.
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23, Diverse Lynx, LLC shall retain all materials created or received by Diverse Lynx,
LLC in connection with any hiring and/or referral process for a period of one year from the date
of the making or receipt of the record or the hiring and/or referral decision involved, whichever
occurs later. This requirement includes, without limitation, all materials submitted by a job
applicant (c.g., resumes, letters, inquiries, e-mails), all written communications between Diverse
Lynx, LLC and any third party (¢.g., job-posting websites, newspapers) regarding recruitment
efforts or advertisements for employment, and any other materials created or received by Diverse
Lynx, LLC regarding job applicants and Diverse Lynx, LLC’s hiring and/or referral processes
and decisions.

24, Diverse Lynx, LLC shall require personnel within its employ, upon request by the
EEOC, to cooperate reasonably with and to be interviewed by the EEOC for purposes of
verifying compliance with this Decree. Diverse Lynx, LLC shall permit a representative of the
EEOC to enter Diverse Lynx, LLC’s premises on two business days’ written notice, during
normal business hours, for purposes of inspecting any relevant documents or records or
otherwise verifying compliance with this Decree.

25. If during the term of this Decree the EEOC believes that Diverse Lynx, LLC has
failed to comply with any provision(s) of the Decree, the EEOC shall notify Diverse Lynx, LLC
of the alleged non-compliance and shall afford Diverse Lynx, LLC ten (10) business days to
remedy the non-compliance or satisfy the EEOC that Diverse Lynx, LLC has complied. If
Diverse Lynx, LLC has not remedied the alleged non-compliance or satisfied the EEOC that it
has complied within ten (10) business days, the EEOC may apply to the Court for relief,
including modification of this Decree or other relief that the Court determines to be appropriate.

If the EEOC determines that waiting ten business days will result in immediate harm to the

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public interest, it may apply to the Court for relief without waiting ten (10) business days.

26. Diverse Lynx, LLC shall furnish to the EEOC the following written reports semi-
annually (“Semi-Annual Report”) during the term of this Decree. The first Semi-Annual Report
Shall be due six (6) months after entry of the Decree, Subsequent Semi-Annual Reports shall be
due every six (6) months thereafter, except that the final Semi-Annual Report shall be due thirty
(30) calendar days prior to the expiration of the Decree. Each such Semi-Annual Report shall
contain:

(i) Copies of all records described in Paragraph 19, above, for the six (6)
month period preceding the Semi-Annual Report or a certification by
Diverse Lynx, LLC that no complaints or reports of discrimination were
received during that period; and

(ii) A certification by Diverse Lynx, LLC that the Notice required to be posted
pursuant to Paragraph 20 of the Decree remained posted in the manner
required during the entire six (6) month period preceding the Semi-Annual
Report.

MONETARY RELIEF

 

27. Within fifteen (15) days of the later of entry of this Decree and receipt by Diverse
Lynx, LLC ofa copy ofa Release Agreement executed by Kadambi Vijaisimh in the form set
forth in Exhibit B to this Decree, Diverse Lynx, LLC will pay Vijaisimh $25,000 for lost wages
and $25,000 in liquidated damages,

28. Diverse Lynx, LLC will make all required withholdings from the portions of the
payment representing back pay for applicable federal, state, and local income taxes and the
employee share of federal payroll taxes. Diverse Lynx., Inc. will be responsible for (and may not
deduct from the payment to Vijaisimh) any tax obligation Diverse Lynx, LLC incurs as a result

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of the payment, including the employer’s share of federal payroll taxes.

29. Ifthe payment due under this Decree is not issued and mailed in full within the
fifteen (15) day period required by Paragraph 27, for cach additional business day that it remains
unpaid Diverse Lynx, LLC shall pay to Vijaisimh, in the manner set forth above, an amount
equal to the greater of $25 or 0.1% of the unpaid amount in interest.

SIGNATURES

 

30. Each signatory to this Decree represents that s/he is fully authorized to execute
this Decree and to bind the parties on whose behalf s/he signs.
DURATION OF DECREE

31. This Decree will remain in effect for two (2) years from the Effective Date. The
Decree will not expire against any signatory while any enforcement action is pending against that
signatory.

32. Ifthe EEOC has notified Diverse Lynx, LLC in writing not fewer than fiflcen
(15) days in advance of the expiration of this Decree that Diverse Lynx, LLC is not in
compliance with any provision of this Decree, Diverse Lynx, LLC’s obligations under this
Decree will remain in effect until the Court determines after application that Diverse Lynx, LLC
has performed its obligations under this Decree.

33, No party will dispute that the Court has jurisdiction over this action for all
purposes including, but not limited to, the entering of all orders, judgments, and decrees as
hecessary to implement the relief provided herein. Upon signature and approval by the Court,
the matter may be administratively closed but will not be dismissed.

34. When this Decree requires a certification by Diverse Lynx, LLC of any fact(s),

such certification shall be made under oath or penalty of perjury by an officer or management

A ZN)

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employee of Diverse Lynx, LLC.
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APPROVED IN FORM AND CONTENT:

For Plaintiff EEOC:

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Justin Mulaire

Supervisory Trial Attorney

U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
New York District Office

33 Whitehall Street, 5" Floor

‘Ne NY 10004

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Rosemary DiSavino
Senior Trial Attorney
. U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
Two Gateway Center, Suite 1703
283-289 Market Street
Newark, N.J. 07102

For Defendant:
PANO

Shubhendra Varma;Président
Shubhendra Varma

Diverse Lynx, LLC

300 Alexander Park, Suite 200
Princeton, New Jersey 08540

SO ORDERED this bt day of Math , 2018

 

 

United States District fudge

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Exhibit A

U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

New York District Office
33 Whitehall Street, 5" Floor
New York, NY 10004-2112
For General Information: (800) 669-4000
TTY: (800)-669-6820
District Office: (212) 336-3721
General FAX: (212) 336-3625

 

NOTICE OF LAWSUIT AND SETTLEMENT

This Notice is being posted as part of a Consent Decree, settling a lawsuit brought
by the U.S. Equal Employment Opportunity Commission (“EEOC”) against
Diverse Lynx, LLC, in Federal court in the District of New Jersey (Civil Action
No. 17-cv-03220). In its lawsuit, EEOC alleged that Defendant unlawfully
discriminated against a job applicant because of his age.

Federal law prohibits employers and employment agencies from discriminating
against applicants and employees and job applicants based on age, sex, national
origin, religion, race, color, age, disability, or genetic information. Federal law
also prohibits employers from retaliating against individuals who complain about
or oppose discrimination or participate in any way in the filing or investigation of a
complaint.

Diverse Lynx, LLC and its owners, managers, and supervisors, will support and
comply with Federal law prohibiting discrimination against any job applicant or
employee because of an individual’s age.

Under the consent decree, Diverse Lynx, LLC will:
hk Will not discriminate against applicants or employees based on age, or
retaliate against any person who exercises his or her rights under Federal
anti-discrimination laws;
2. Will maintain and distribute written policies and procedures
prohibiting age discrimination and enabling employees and job applicants to
file complaints;
A Will provide training on Federal laws prohibiting employment
discrimination to all applicants as well as employees;
4. Will permit EEOC to monitor compliance with the Consent Decree;
5. Will post this Notice; and
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Should you have a complaint of discrimination, you may report it to any EEOC
office throughout the United States, including the Newark Area Office, at:

Equal Employment Opportunity Commission
Newark Area Office

One Newark Center, 21st Floor

Newark, NJ 07102-5233

(800) 669-4000

WWw.ee0c. 20v
Dated:

 

THIS IS AN OFFICIAL NOTICE AND MUST NOT BE ALTERED OR
DEFACED BY ANYONE OR COVERED BY ANY OTHER MATERIAL

This notice must remain posted for three years from date shown above, and
most not be altered, defaced, or covered by any other material. Any question
concerning this Notice or compliance with its provision may be directed to the
U.S. Equal Employment Opportunity Commission at the number listed above.
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EXHIBIT B
RELEASE AGREEMENT

In consideration for $50,000 paid to me by Diverse Lynx, LLC, in connection with the
resolution of EEOC v. Diverse Lynx, LLC, Case No. 3:17-cv-03220-MAS-TIB (D. N.J.), I
waive my right to recover for any claims of discrimination arising under The Age Discrimination
in Employment Act of 1967, as amended, 29 U.S.C. § 621 et seq. (“ADEA”), that I had against
Diverse Lynx, LLC, prior to the date of this release and that were included in the claims alleged
in EEOC v. Diverse Lynx, LLC, Case No. 3:17-cv-03220-MAS-TJB, or in Charge 540-2014-

02345 at the Equal Employment Opportunity Commission.

Date: Signature:

 

Kadambi Vijaisimh
